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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

ASHLEY DIAMOND,                         :     PRISONER CIVIL RIGHTS
    Plaintiff,                          :     42 U.S.C. § 1983
                                        :
      v.                                :
                                        :
TIMOTHY WARD, et al.,                   :     CIVIL ACTION NO.
    Defendants.                         :     1:20-CV-4764-LMM-CMS

                                    ORDER

      Plaintiff, Ashley Diamond, confined in Coastal State Prison in Garden City,

Georgia, has submitted a counseled civil rights complaint. [Doc. 1]. Plaintiff brings

the action against (1) the following Georgia Department of Corrections (GDOC)

Defendants: Timothy Ward, GDOC Commissioner; Sharon Lewis, GDOC Statewide

Medical Director; Javel Jackson, GDOC Director of Mental Health; Ahmed Holt,

GDOC Assistant Commissioner of Facilities Division; Robert Toole, GDOC

Director of Field Operations; Jack Sauls, GDOC Assistant Commissioner of Health

Services; and Grace Atchison, GDOC Statewide Prison Rape Elimination Act

(PREA) Coordinator; and (2) the following officials at Coastal State Prison and the

Georgia Diagnostic and Classification Prison (GDCP) in Jackson, Georgia:

Benjamin Ward, Warden of GDCP; Brooks Benton, Warden of Coastal State Prison;
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Lachesha Smith, PREA compliance manager at GDCP; Aretha Smith, correctional

officer at GDCP; and Rodney Jackson, unit manager at Coastal State Prison.

      The GDOC headquarters are located in Forsyth, Georgia, in Monroe County,

within the Middle District of Georgia, the Macon Division. Further, the GDCP is

located in Jackson, Georgia, in Butts County, also within the Middle District of

Georgia, the Macon Division. Coastal State Prison is located in Garden City, in

Chatham County, within the Southern District of Georgia.

      A federal-law action may be brought in a judicial district where any defendant

resides, if all defendants reside in the same State, or in the judicial district in which

the claims arose. 28 U.S.C. § 1391(b). When venue is improper, the court may, in

the interest of justice, transfer the case to a district court in which it could have been

brought. 28 U.S.C. § 1406(a). Additionally, “[f]or the convenience of parties and

witnesses, in the interest of justice, a district court may transfer any civil action to

any other district or division where it might have been brought[.]” 28 U.S.C.

§ 1404(a).

      Venue is improper in this district, and the Court finds it to be in the interest of

justice to transfer this action to the United States District Court for the Middle District

of Georgia, where the majority of the Defendants are located.
                                         2
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      Accordingly, IT IS ORDERED that this action is hereby TRANSFERRED

to the UNITED STATES DISTRICT COURT FOR THE MIDDLE DISTRICT

OF GEORGIA, THE MACON DIVISION, along with all orders, motions,

affidavits, pleadings and exhibits (if any) filed herein.

      IT IS SO ORDERED, this 1st day of December, 2020.1




      1
        A transfer is a pretrial matter that is neither excepted under 28 U.S.C.
§ 636(b)(1)(A) nor dispositive of a party’s claim or defense, and is properly
determined by the assigned Magistrate Judge. See Fed. R. Civ. P. 72(a); United
States v. Asghedom, 646 F. App’x 830, 832 (11th Cir. 2016) (“Under 28 U.S.C.
§ 636(b)(1)(A), magistrate judges are authorized to hear and determine any pretrial
matter, except for certain exceptions.”); Hartley v. Ellis, No. 5:09CV46, 2009 WL
564663, at *1 (N.D. Fla. Mar. 5, 2009) (reasoning that “because a transfer of venue
does not address the merits of the case but merely changes the forum of an action, it
is a non-dispositive matter that is within the province of a magistrate judge’s
authority”).
                                        3
